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UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF
ILLINOIS EASTERN DIVISION

STATE OF ILLINOIS,
Plaintiff, Case No. 17-cv-6260

CITY OF CHICAGO,

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Defendant.

MOTION FOR LEAVE TO FILE REPLY BRIEF

The Fraternal Order of Police Chicago Lodge No. 7 (the “Lodge”) by and through its
attorneys requests this Court’s permission to file a reply to the responses filed by the parties in

this case on February 14, 2020, and in support of this motion the Lodge states as follows:

1. On January 27, 2020, the Lodge filed a motion for leave to object and to comment on the
parties’ Joint Motion to Approve the Parties’ Stipulation that had been filed on January
24, 2020, [Doc. 807]. In addition, the Lodge renewed its March 1, 2019, request to
intervene in this proceeding. [Doc. 714].

2. The Court entered on order on January 29, 2020, granting leave to the Lodge to file its
motion for leave to object and comment and granted the parties until February 14, 2020,
to file any responses. [Doc. 815].

3. On February 14, 2020, the parties filed their respective responses. [Doc. 818] and

[Doc.819].
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4. The Lodge requests permission of this court to file a reply to the responses filed by the

parties in this case and requests a period of fourteen dates in which to file such a reply.

Respectfully submitted,

/s/ Joel A. D’Alba
Joel A. D’Alba

Joel A. D’Alba

Asher, Gittler & D’ Alba, Ltd.
200 W. Jackson Blvd, Suite 720
Chicago, IL 60606
312/263-1500 (phone)
312/263-1520 (fax)

jad@ulaw.com

Attorneys for Fraternal Order of Police
Chicago Lodge No. 7
